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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  CYWEE GROUP LTD.,                             )
        Plaintiff,                              )

        v.                                      )

                                                )
                                                        CIV. NO. 2:17-CV-00495-RWS-RSP
   HUAWEI DEVICE CO. LTD.,                      )
                                                           JURY TRIAL DEMANDED
 . HUAWEI DEVICE (DONGGUAN)                     )
   CO. LTD., AND HUAWEI DEVICE
   USA, INC.,
                                                )
        Defendants.
                                                )


               ORDER GRANTING AGREED MOTION TO EXTEND TIME
                 TO SUBMIT PROPOSED DOCKET CONTROL ORDER
                            AND DISCOVERY ORDER

        The Court, after considering the agreed motion for a short extension of time to submit the

 parties’ proposed docket control order and discovery order, from Thursday, January 25, 2018, to

 Monday, January 29, 2018, GRANTS the motion.
       SIGNED this 3rd day of January, 2012.
        SIGNED this 25th day of January, 2018.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE
